                    Case 8:04-cr-00235-DKC Document 1596 Filed 01/08/13 Page 1 of 2
TRULINCS 38360037 - DOBIE, LAVON - Unit: OKL-E-C
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FROM: 38360037     ~_                                                                   RECEIVED IN THe CHAMBERS OF
                                                                                               ROGER W TITUS
SUBJECT: AMENDMENT OF SENTENCING            ORDER
DATE: 12/18/201208:20:32 AM                                                                      JAN 02 2013

HONORABLE JUDGE TITUS                                                                  UNITED STATES DISTRICT JUDGE


NOW COMES THE DEFENDANT LA' VON DOBIE BEFORE THIS HONORABLE COURT FOR AMENDMENT OF THE
SENTENCE IMPOSED ON NOVEMBER 20,2012. TO INCLUDE RECOMMENDATION FOR PLACEMENT IN A HALFWAY
HOUSE [RESIDENTIAL REENTRY COMMUNITY PROGRAMS]. YOUR HONOR,THE SENTENCING ORDER YOU IMPOSED
UPON ME ON DECEMBER 19,2006 NOR THE ORDER IMPOSED ON NOVEMBER 20,2012 INCLUDED A
RECOMMENDATION FOR RRCP " HALFWAY HOUSE" PLACEMENT AND UNFORTUNATELY WITHOUT IT; I MAY NOT BE
ALLOWED TO BE PLACED IN ONE. DUE TO MY BEING INCARCERATED FOR THE LAST EIGHT YEARS ,SIX-MONTHS
AND EIGHTEEN DAYS, THE HALFWAY HOUSE WOULD BENEFIT ME GREATLY.
 I AM HUMBLY ASKING FOR A YEAR PLACEMENT IN THE HALFWAY HOUSE ,SO I CAN ACQUIRE MEANINGFUL
EMPLOYMENT THAT IS CONDUCIVE TO MY CAREER GOALS AND RE-ESTABLISH MYSELF POSITIVELY BACK INTO
SOCIETY AND MAKE THE TRANSITION SMOOTHLY; WHILE TAKING ADVANTAGE OF THE MANY BENEFITS THE
HALFWAY HOUSE WOULD PROVIDE. IF AT ALL POSSIBLE CAN YOU, RECOMMEND THAT I BE PLACED IN THE PRE-
RELEASE CENTER IN ROCKVILLE, MARYLAND IF THEY STILL SERVE FEDERAL INMATES. I WILL RESIDE IN FORT
WASHINGTON ,MARYLAND WITH MY MOTHER; UNTIL I OBTAIN MY OWN RESIDENCE.

IN SPITE OF THE INFORMAL NATURE OF THIS DOCUMENT PLEASE CONSIDER IT A MOTION.
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OKLAHOMA CITY, OK 73189-8801                                                                                                                                       vs n




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